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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

DARMARCUS DELOACH,                         §
Individually and On Behalf of All          §
Others Similarly Situated,                 §
                                           §
               Plaintiff,                  §
                                           §            No._________________
v.                                         §
                                           §
SANDBOX ENTERPRISES, LLC,                  §
SANDBOX TRANSPORTATION,                    §
LLC, AND SANDBOX LOGISTICS,                §
LLC.                                       §
                                           §
               Defendants.                 §

                     PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Plaintiff Darmarcus Deloach (referred to as “Plaintiff” or

“Deloach”) bringing this collective action and lawsuit on behalf of himself and all other

similarly situated employees to recover unpaid overtime wages from Defendants

Sandbox Enterprises, LLC (“Sandbox Enterprises”), Sandbox Transportation, LLC

(“Sandbox Transportation”) and Sandbox Logistics, LLC (“Sandbox Logistics”)

(collectively referred to as “Defendants”). In support thereof, he would respectfully

show the Court as follows:
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                                      I. Nature of Suit

       1.         Plaintiff’s claims arise under the Fair Labor Standards Act of 1938, 29

U.S.C. §§ 201-219 (“FLSA”).

       2.         The FLSA was enacted to eliminate “labor conditions detrimental to the

maintenance of the minimum standard of living necessary for health, efficiency and

general well-being of workers ….” 29 U.S.C. § 202(a). To achieve its humanitarian

goals, the FLSA defines appropriate pay deductions and sets overtime pay, minimum

wage, and recordkeeping requirements for covered employers. 29 U.S.C. §§ 206(a),

207(a), 211(c).

       3.         Defendants violated the FLSA by employing Plaintiff and other

similarly situated nonexempt employees “for a workweek longer than forty hours [but

refusing to compensate them] for [their] employment in excess of [forty] hours … at a

rate not less than one and one-half times the regular rate at which [they are or were]

employed.” 29 U.S.C. § 207(a)(1).

       4.         Defendants violated the FLSA by failing to maintain accurate time and

pay records for Plaintiff and other similarly situated nonexempt employees as required

by 29 U.S.C. § 211(c) and 29 C.F.R. pt. 516.

       5.         Plaintiff brings this collective action under 29 U.S.C. § 216(b) on behalf

of himself and all other similarly situated employees to recover unpaid overtime wages.




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                               II. Jurisdiction & Venue

       6.     The Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331

and 29 U.S.C. § 216(b) because it arises under the FLSA, a federal statute.

       7.     Venue is proper in this district and division pursuant to 28 U.S.C. §

1391(b)(1), (2) because Defendants reside in the Houston Division of the Southern

District of Texas and/or a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred in the Houston Division of the Southern District of Texas.

                                      III. Parties

       8.      Deloach is an individual who resides in Midland, Texas and who was

employed by Defendants from 2017 through 2018.

       9.     Sandbox Enterprises, LLC is a Texas limited liability company that may

be served with process by serving its registered agent: CT Corporation System, at 1999

Bryan Street, Suite 900, Dallas, Texas 75201-3136. Alternatively, if the registered agent

of Sandbox Enterprises, LLC cannot with reasonable diligence be found at the

company’s registered office, Sandbox Enterprises, LLC may be served with process by

serving the Texas Secretary of State pursuant to TEX. BUS. ORG. CODE § 5.251 and

TEX. CIV. PRAC. & REM. CODE § 17.026.

       10.    Sandbox Transportation, LLC is a Texas limited liability company that

may be served with process by serving its registered agent: CT Corporation System, at

1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136. Alternatively, if the registered

agent of Sandbox Transportation, LLC cannot with reasonable diligence be found at


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the company’s registered office, Sandbox Transportation, LLC may be served with

process by serving the Texas Secretary of State pursuant to TEX. BUS. ORG. CODE §

5.251 and TEX. CIV. PRAC. & REM. CODE § 17.026.

       11.     Sandbox Logistics, LLC is a Texas limited liability company that may

be served with process by serving its registered agent: CT Corporation System, at 1999

Bryan Street, Suite 900, Dallas, Texas 75201-3136. Alternatively, if the registered agent

of Sandbox Logistics, LLC cannot with reasonable diligence be found at the company’s

registered office, Sandbox Logistics, LLC may be served with process by serving the

Texas Secretary of State pursuant to TEX. BUS. ORG. CODE § 5.251 and TEX. CIV.

PRAC. & REM. CODE § 17.026.

       12.     Whenever it is alleged that Defendants committed any act or omission,

it is meant that company’s officers, directors, vice-principals, agents, servants or

employees committed such act or omission and that, at the time such act or omission

was committed, it was done with the full authorization, ratification or approval of

Defendants or was done in the routine and normal course and scope of employment of

the company’s officers, directors, vice-principals, agents, servants or employees.

                                        IV. Facts

       11.     According to its website, “Sandbox Logistics provides an innovative new

approach to proppant storage, handling and well-site delivery” to help reduce the health

and safety issues of silica dust on the jobsite and neighboring communities; it does

business in the territorial jurisdiction of this Court.


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       12.    Defendants individually and jointly employed Deloach as an equipment

operator (“operator”) from approximately 2017 through 2018.

       13.    As an operator, Deloach’s primary duties were nonexempt.

       14.    As an operator, Deloach’s primary duty was to perform manual labor and

did not include office or nonmanual work.

       15.    As an operator, Deloach’s primary duties were not directly related to the

management or general business operations of Defendants or its customers.

       16.    As an operator, Deloach’s duties did not differ substantially from the

duties of traditionally nonexempt hourly workers.

       17.    Defendants possessed the power to hire and fire operators who worked

for Defendants, including Deloach.

       18.    Defendants determined the rate of pay and method of payment for the

individuals who worked for Defendants, including Deloach.

       19.    As an equipment operator, Deloach was paid on a day-rate basis at $300

per day.

       20.    During Plaintiff’s employment with Defendants, he was engaged in

commerce or the production of goods for commerce.

       21.    During Plaintiff’s employment with Defendants, the company had

employees engaged in commerce or in the production of goods for commerce.




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       22.    During Plaintiff’s employment with Defendants, the company had

employees handling, selling or otherwise working on goods or materials that had been

moved in or produced for commerce by others.

       23.    During Plaintiff’s employment with Defendants, the company had an

annual gross volume of sales made or business done of at least $500,000.

       24.    During Plaintiff’s employment with Defendants, he regularly worked in

excess of forty hours per week. In fact, Plaintiff typically worked between sixty to

eighty hours each work week.

       25.    Defendants knew or reasonably should have known that Plaintiff worked

in excess of forty hours per week.

       26.    Defendants did not pay Plaintiff overtime “at a rate not less than one

and one-half times the regular rate at which he [was] employed.” 29 U.S.C. § 207(a)(1).

       27.    Instead, Defendants paid Plaintiff a flat sum for each day’s work

regardless of the number of hours he worked in a workweek. See, 29 C.F.R. § 778.112

(day-rate workers entitled to additional overtime premium).

       28.    In other words, Defendants paid Plaintiff overtime at a rate less than one

and one-half times the regular rate at which he was employed in violation of the FLSA.

       29.    Defendants knew or reasonably should have known that Plaintiff was not

exempt from the overtime provisions of the FLSA.

       30.    Defendants failed to maintain accurate time and pay records for Plaintiff

as required by 29 U.S.C. § 211(c) and 29 C.F.R. pt. 516.


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       31.       Defendants knew or showed a reckless disregard for whether its pay

practices violated the FLSA.

       32.       Defendants are liable to Plaintiff for his unpaid overtime wages,

liquidated damages and attorney’s fees and costs pursuant to 29 U.S.C. § 216(b).

       33.       All employees being paid a day rate employed by Defendants are

similarly situated to Plaintiff because they (1) have similar job duties; (2) regularly

work in excess of forty hours per week; (3) are not paid overtime for the hours they

work in excess of forty per week as required by 29 U.S.C. § 207(a)(1) and (4) are

entitled to recover their unpaid overtime wages, liquidated damages and attorneys’ fees

and costs from Defendants pursuant to 29 U.S.C. § 216(b).

    V. Count One—Failure to Pay Overtime in Violation of 29 U.S.C. § 207(a)

       34.       Plaintiff adopts by reference all of the facts set forth above. See, FED. R.

CIV. P. 10(c).

       35.       During Plaintiff’s employment with Defendants, he was a nonexempt

employee.

       36.       As a nonexempt employee, Defendants were legally obligated to pay

Plaintiff “at a rate not less than one and one-half times the regular rate at which he

[was] employed[]” for the hours that he worked over forty in a workweek. 29 U.S.C. §

207(a)(1).

       37.       Defendants did not pay Plaintiff overtime “at a rate not less than one

and one-half times the regular rate at which he [was] employed.” 29 U.S.C. § 207(a)(1).


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       38.       Instead, Defendants paid Plaintiff a flat sum for each day’s work

regardless of the number of hours he worked in a workweek. See, 29 C.F.R. § 778.112

(day-rate workers entitled to additional overtime premium).

       39.       In other words, Defendants paid Plaintiff overtime at a rate less than one

and one-half times the regular rate at which he was employed in violation of the FLSA.

       40.       If Defendants classified Plaintiff as exempt from the overtime

requirements of the FLSA, he was misclassified because no exemption excuses the

company’s noncompliance with the overtime requirements of the FLSA.

       41.       Defendants knew or showed a reckless disregard for whether its pay

practices violated the overtime requirements of the FLSA. In other words, Defendants

willfully violated the overtime requirements of the FLSA.

             VI. Count Two—Failure to Maintain Accurate Records in
                        Violation of 29 U.S.C. § 211(c)

       42.       Plaintiff adopts by reference all of the facts set forth above. See, FED. R.

CIV. P. 10(c).

       43.       The FLSA requires employers to keep accurate records of hours worked

by and wages paid to nonexempt employees. 29 U.S.C. § 211(c); 29 C.F.R. pt. 516.

       44.       In addition to the pay violations of the FLSA described above,

Defendants also failed to keep proper time and pay records as required by the FLSA.




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                    VII. Count Three—Collective Action Allegations

       45.       Plaintiff adopts by reference all of the facts set forth above. See, FED. R.

CIV. P. 10(c).

       46.       On information and belief, other employees have been victimized by

Defendants violations of the FLSA identified above.

       47.       These employees are similarly situated to Plaintiff because, during the

relevant time period, they held similar positions, were compensated in a similar manner

and were denied overtime wages at one and one-half times their regular rates for hours

worked over forty in a workweek.

       48.       Defendants policy or practice of failing to pay overtime compensation is

a generally applicable policy or practice and does not depend on the personal

circumstances of the putative class members.

       49.       Since, on information and belief, Plaintiff’s experiences are typical of the

experiences of the putative class members, collective action treatment is appropriate.

       50.       All of Defendants employees, regardless of their rates of pay, job titles

or precise job locations who were paid at a rate less than one and one-half times the

regular rates at which they were employed for the hours that they worked over forty in

a workweek are similarly situated. Although the issue of damages may be individual in

character, there is no detraction from the common nucleus of liability facts. The Class

is therefore properly defined as:




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              All operators paid on a day rate by Defendants during the
              last three years.

        51.   Defendants are liable to Plaintiff and the Putative Class for the

difference between what it actually paid them and what it was legally obligated to pay

them.

        52.   Because Defendants knew and/or showed a reckless disregard for

whether its pay practices violated the FLSA, Defendants owe Plaintiff and the Putative

Class their unpaid overtime wages for at least the last three years.

        53.   Defendants are liable to Plaintiff and the Putative Class in an amount

equal to their unpaid overtime wages as liquidated damages.

        54.   Defendants are liable to Plaintiff and the Putative Class for their

reasonable attorneys’ fees and costs.

        55.   Plaintiff have retained counsel who are well versed in FLSA collective

action litigation and who are prepared to litigate this matter vigorously on their behalf

as well as all other putative class members.

                                        VIII. Prayer

        56.   Plaintiff prays for the following relief:

                  a. an order allowing this action to proceed as a collective action
                     under 29 U.S.C § 216(b);

                  b. judgment awarding Plaintiff and the Putative Class all unpaid
                     overtime compensation, liquidated damages, attorneys’ fees and
                     costs;

                  c. post judgment interest at the applicable rate;


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             d. incentive awards for any class representative(s); and

             e. all such other and further relief to which Plaintiff and the
                Putative Class may show themselves to be justly entitled.



                                            Respectfully submitted,
                                            MOORE & ASSOCIATES

                                            By:
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